Case 8:20-cv-00269-DOC-JDE Document 456 Filed 11/09/23 Page 1 of 5 Page ID #:46368



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                             UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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    13   TML RECOVERY, LLC, et al.               Case No.: 8:20-cv-0269-DOC-JDE
    14                                           Assigned to Judge David O. Carter
                            Plaintiffs,
    15                                           Consolidated with:
         v.                                      8:20-cv-0271     8:20-cv-0272
    16                                           8:20-cv-0273     8:20-cv-0274
         CIGNA CORPORATION, et al.               8:20-cv-0787     8:20-cv-0788
    17
                            Defendants.          ORDER GRANTING
    18                                           PLAINTIFFS’ MOTION TO
         CIGNA HEALTH AND LIFE                   UNSEAL DOCUMENTS
    19
         INSURANCE COMPANY, et al.
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              Counterclaim Plaintiffs,
    21
         v.
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         TML RECOVERY, LLC, et al.
    23
              Counterclaim Defendants.
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                     ORDER GRANTING PLAINTIFFS’ MOTION TO UNSEAL DOCUMENTS
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     1         Having considered, Plaintiffs/Counterclaim Defendants TML Recovery, LLC
     2   (“TML”), MMR Services, LLC (“MMR”), Addiction Health Alliance, LLC
     3   (“AHA”), DR Recovery Encinitas, LLC (“DRR”), Southern California Recovery
     4   Centers Oceanside, LLC (“SCRCO”), and Plaintiffs Pacific Palms Recovery, LLC
     5   (“PPR”), Woman’s Recovery Center, LLC (“WRC”), Southern California Addiction
     6   Center, Inc. (“SCAC”) (collectively, “Plaintiffs”) Motion to Unseal Documents, IT
     7   IS HEREBY ORDERED that Plaintiffs’ Motion to Unseal Documents is
     8   GRANTED. The following documents identified in the Parties’ Joint Report (ECF
     9   406) as documents the Parties no longer wish to seal shall be unsealed and made a
    10   part of the public record:
    11   x     ECF No. 241-1: Plaintiffs’ Memorandum of Points and Authorities in
    12         Opposition to Cigna’s Motion for Summary Judgment.
    13   x     ECF No. 241-3: Declaration of Nate Izzo (TML Recovery) filed in support of
    14         Plaintiffs’ Opposition to Cigna’s Motion for Summary Judgment.
    15   x     ECF No. 241-4: Declaration of Nate Izzo (MMR Services) filed in support of
    16         Plaintiffs’ Opposition to Cigna’s Motion for Summary Judgment.
    17   x     ECF No. 241-5: Declaration of Nate Izzo (Addiction Health Alliance) filed in
    18         support of Plaintiffs’ Opposition to Cigna’s Motion for Summary Judgment.
    19   x     ECF No. 241-6: Declaration of Nate Izzo (DR Recovery) filed in support of
    20         Plaintiffs’ Opposition to Cigna’s Motion for Summary Judgment.
    21   x     ECF No. 241-7: Declaration of Nate Izzo (Southern California Recovery
    22         Center Oceanside) filed in support of Plaintiffs’ Opposition to Cigna’s
    23         Motion for Summary Judgment.
    24   x     ECF No. 241-8: Declaration of Ryan Schrier (Pacific Palms Recovery) filed
    25         in support of Plaintiffs’ Opposition to Cigna’s Motion for Summary
    26         Judgment.
    27   x     ECF No. 241-9: Declaration of Ryan Schrier (Woman’s Recovery Center)
    28         filed in support of Plaintiffs’ Opp. to Cigna’s Motion for Summary Judgment.
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                      ORDER GRANTING PLAINTIFFS’ MOTION TO UNSEAL DOCUMENTS
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     1   x      ECF No. 241-10: Declaration of Aaron Brower (Southern California
     2          Addiction Center) filed in support of Plaintiffs’ Opp. to Cigna’s Motion for
     3          Summary Judgment.
     4   x      ECF No. 384-2: Exs. D-2 – D-5 to Robertson and Olin Declarations in
     5          support of Omnibus Application to Seal.
     6   x      ECF No. 385-1: Exs. E-1 to Robertson and Olin Declarations in support of
     7          Omnibus Application to Seal, Expert Report of Dr. Kelly Clark.
     8   x      ECF No. 223-1: Cigna’s Opposition to Plaintiffs’ Partial Motion for
     9          Summary Judgment.
    10   x      ECF No. 291: Declaration of Richard Collins in support of Plaintiffs’ Motion
    11          in Limine No. 2.
    12   x      ECF No. 301-61: Cigna’s Motion in Limine No. 6.
    13   x      ECF No. 146-2: Exs. D-1 through D-8 to the Declaration of Mario Vangeli.
    14   x      ECF No. 225-4: Ex. A-4 to the Declaration of Richard Collins in support of
    15          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
    16          Judgment.
    17   x      ECF No. 225-17: Ex. A-17 to the Declaration of Richard Collins in support
    18          of Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
    19          Judgment.
    20   x      ECF No. 230-11: Ex. C-11 to the Declaration of Nathaniel Izzo in support of
    21          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
    22          Judgment.
    23   x      ECF No. 232-12: Ex. E-12 to the Declaration of Nathaniel Izzo in support of
    24          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
    25          Judgment.
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          The Joint Report mistakenly identifies ECF Nos. 241-3 and 307-1 instead of the appropriate ECF
         No. 301-6, which is apparent from the description of the filing. ECF No. 307-1 is a redacted version
    28   of 301-6 and already exists in the public record.
                                                        -2-
                        ORDER GRANTING PLAINTIFFS’ MOTION TO UNSEAL DOCUMENTS
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     1   x      ECF No. 233-11: Ex. F-11 to the Declaration of Nathaniel Izzo in support of
     2          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
     3          Judgment.
     4   x      ECF No. 233-12: Ex. F-12 to the Declaration of Nathaniel Izzo in support of
     5          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
     6          Judgment.
     7   x      ECF No. 235-11: Ex. H-11 to the Declaration of Ryan Schrier in support of
     8          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
     9          Judgment.
    10   x      ECF No. 236-11: Ex. I-11 to the Declaration of Ryan Schrier in support of
    11          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
    12          Judgment.
    13   x      ECF No. 237-12: Ex. J-12 to the Declaration of Aaron Brower in support of
    14          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
    15          Judgment.
    16   x      ECF No. 237-14: Ex. J-14 to the Declaration of Aaron Brower in support of
    17          Plaintiffs’ Opposition to Cigna and MultiPlan’s Motions for Summary
    18          Judgment.
    19   x      ECF Nos. 291-22: Ex. A-1 to the Declaration of Richard Collins in Support of
    20          Plaintiffs’ Motion in Limine No. 2.
    21   x      ECF Nos. 314-3, 314-5, 314-9: Exs. A, C, G to the Declaration of Damon D.
    22          Eisenbrey in Support of Plaintiffs’ Opposition to MultiPlan’s Motion in
    23          Limine No. 1.
    24   x      ECF No. 314-13: Ex. K to the Declaration of Damon D. Eisenbrey in Support
    25          of Plaintiffs’ Opposition to MultiPlan’s Motion in Limine No. 1.
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          The Joint Report mistakenly identifies ECF No. 291 instead of the appropriate ECF No. 291-2,
    28   which is apparent from the description of the filing.
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                         ORDER GRANTING PLAINTIFFS’ MOTION TO UNSEAL DOCUMENTS
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     1   x      ECF No. 314-15: Ex. M to the Declaration of Damon D. Eisenbrey in
     2          Support of Plaintiffs’ Opposition to MultiPlan’s Motion in Limine No. 1.
     3   x      ECF No. 294-63: Ex. B-5 to the Declaration of Richard Collins in Support of
     4          Plaintiffs’ Motion in Limine No. 4 and Motion in Limine No. 5.
     5   IT IS SO ORDERED.
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         DATED:       November 9, 2023
     8                                                              David O. Carter
                                                               United States District Judge
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          The Joint Report mistakenly identifies ECF Nos. 294 instead of the appropriate ECF No. 294-6,
    28   which is apparent from the description of the filing.
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                         ORDER GRANTING PLAINTIFFS’ MOTION TO UNSEAL DOCUMENTS
